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Western District of Tennessee _ "Oé><,?/O § \ § 61
United states or America oRDER HoLDrNG PRoBA/T“IO i@E§O 764 §
FoR REvocATIoN HEAPING/»"O §O <9
V. /‘[/_‘/ 'OQ/LS\§_(/’?
_ ref
Rodney Robmson Case Number: 97-20263-Ml/V

 

On April 14, 2005, the defendant appeared before me on a charge of violation of the terms
and conditions of his supervised release in this matter. The defendant was or had been advised
of his rights under Rules 5 and 32.1(a)(1), Federal Rules of Crirninal Procedure, and appeared
With counsel, Who had been appointed.

At this hearing, the defendant was released on bond and therefore, a preliminary hearing
on the violation was not required. See United States v. Sciuto, 531 F.Zd 842, 846 (7th Cir. 1976);
United States v. Tucker, 524 F.Zd 77, 78 (5th Cir. 1975), cert. denied, 424 U.S. 966, 96 S.Ct.
1462, 47 L.Ed.Zd 733(1976).

Accordingly, the defendant is held to a final revocation hearing before the district judge.
It is presumed that the United States District Court Will set this matter for a revocation hearing

pursuant to Federal Rule of Criminal Procedure 32.1(a)(2), and Will see that appropriate notices

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S. lhomas Ana'erson, United States Magisrrare Judge

are given.

Date: April 15, 2005

This document entered on the docket she t in compliance
with Ruie 55 and/or 32(b) FRCrP on fE» 2 ab C>§" @

   

UNITED sTATE DISTRIC COUR - WETERN D's'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 80 in
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Honorable J on McCalla
US DISTRICT COURT

